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AQ 245B (Rev. 02/18) Judgment in a Criminal Case

 

 

 

 

 

Sheet 1
UNITED STATES DISTRICT COURT
Southern District of Ohio
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. )
John R. Cacaro Case Number: 2:18cr94
) USM Number: 77647-0641
)
) Steven P. Goodin
) Defendant's Attorney

THE DEFENDANT:

Wi pleaded guilty to count(s) 1 and 2 of the Information

Li pleaded nolo contendere to count(s)

which was accepted by the court.

L] was found guilty on count(s)

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. §§ 1343 and2 Wire Fraud 5/3/2018 1
18 U.S.C. §§ 1957 and 2. Money Laundering 5/31/2013 2

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,

C] The defendant has been found not guilty on count(s)

1 Count(s) (is Care dismissed on the motion of the United States.

 

_, It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

12/4/2018

Date of Iinposition of Judgm

Sigfatire of Judge re

Michael H. Watson, United States District Judge
Name and Title of Indge

ec 0, AolF
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AO 245B (Rev. 02/18) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment— Page 2 of
DEFENDANT: John R. Cacaro
CASE NUMBER: 2:18cr94

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

6 months as to each count to run concurrently.

Wi The court makes the following recommendations to the Bureau of Prisons:

That the defendant be placed in FCI Ashland or West Virginia.

(1 The defendant is remanded to the custody of the United States Marshal.

L] The defendant shall surrender to the United States Marshal for this district:
[ at Olam UO pm on
Cas notified by the United States Marshal.

Wi The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
L] before 2 p.m. on
Mas notified by the United States Marshal.

L] as notified by the Probation or Pretrial Services Office.

 

 

RETURN
[have executed this judgment as follows:
Defendant delivered on = to
at _ ____, with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
Case: 2:18-cr-00094-MHW Doc #: 24 Filed: 12/10/18 Page: 3 of 8 PAGEID #: 84

AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Tudgment—Page oa of ft,
DEFENDANT: John R. Cacaro
CASE NUMBER: 2:18¢r94
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

3 years as to each count to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

7] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4. ff You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable}
5, M You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. Li You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7, CJ You must participate in an approved program for domestic violence. (check if applicable)

Ne

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 34 — Supervised Release

Judgment—Page 4 of ?

DEFENDANT: John R. Cacaro
CASE NUMBER: 2:18cr94

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1, You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the prebation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon {i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that struction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

=

U.S. Probation Office Use Only
AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this

judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date
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AO 245B(Rev. 02/18) Judgment in a Criminal Case
Sheet 3D — Supervised Release

Judgment—Page 5 of 7

DEFENDANT: John R. Cacaro
CASE NUMBER: 2:18cr04

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall provide the probation officer with access to any requested financial information and authorize the
release of any financial information to the probation officer. The probation officer may share financial information with the

U.S. Attorney's Office.

2. The defendant shall not incur new credit charges or open lines of credit without approval of the probation officer.

3. The defendant shall participate in a Home Detention component of the location monitoring program for a period of 12
months. During this time, the defendant shall be required to remain in his residence unless given permission in advance by
the probation officer for approved activities. The defendant shall be monitored by the use of:

(X) Location Monitoring technology at the discretion of the officer.

The defendant shall abide by all of the requirements established by the probation office related to the use of this location
monitoring technology. The defendant shall pay ali o7 part of the costs of the location monitoring based on his ability to

pay as determined by the probation officer.

4. The defendant shall cooperate with the State of Ohio, Bureau of Workers Compensation and the IRS.
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AO 245B (Rev. 62/18) Judgment in a Criminal Case
Sheet 5 -—— Criminal Monetary Penalties

 

 

 

Judgment — Page 6 of t
DEFENDANT: John R. Cacaro
CASE NUMBER: 2:18cr94
CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
Assessment JVTA Assessment* Fine Restitution

TOTALS § 200.00 § $ 10,000.00 § 425,246.58
(C1 The determination of restitution is deferred until — ____ « An Amended Judgment in a Criminal Case (Ao 245¢) will be entered

after such determination.

[The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately prop rtioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
The Ohio Bureau of Worker's Compensation $425,246.58 $425,246.58
30 W Spring St
Cols OH 43215

TOTALS $ 425,246.58 § 425,246.58

C_ Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

¥| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
W the interest requirement is waived for the Wi fine M restitution.

LC] the interest requirement forthe 0 fine OC restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or

after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 92/18) Judgment in a Criminal Case
Sheet 6 -—— Schedule of Payments

Judgment— Page 7 of tT
DEFENDANT: John R. Cacaro
CASE NUMBER: 2:18cr94

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A W& Lump sum payment of $ 435,446.58 due immediately, balance due

CO _sionot later than , or
(| inaccordancewith 1] C, QO OD, i E,or MW F below; or

B (1 Payment to begin immediately (may be combined with (CIC, OD,or 1 F below); or

C OO Payment in equal (e.g., weekly, monihly, quarterly) installments of $ over a period of
(é.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D () Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(¢.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E  [@ Payment during the term of supervised release will commence within 60 (e.g., 30 or 60 days) after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Special instructions regarding the payment of criminal monetary penalties:

[x] lf the defendant, while incarcerated, is working in a non-UNICOR or grade 5 UNICOR job, the defendant shall
pay $25.00 per quarter toward defendant's monetary obligation. If working in a grade 1-4 UNICOR job, defendant
shall pay 50% of defendant's monthly pay toward defendant's monetary obligation. Any change in this schedule
shall be made only by order of this Court.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment, All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

01 = Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[1 The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

Wi The defendant shall forfeit the defendant’s interest in the following property to the United States:
As described in the plea agreement.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) ]VTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

8/1341: POLICY CHANGE RES CTING Cc

OF THE STATEMENT OF REASONS PAGE IN THE JUDGMENT

DISTRIBUTION OF
THE JUDGMENT AND COMMITMENT
WITH THE STATEMENT OF REASONS PAGE
AND THE DENIAL OF FEDERAL BENEFITS
PAGE ES LIMITED 70:

DEFENSE COUNSEL
UNITED STATES ATTORNEY
U.S.A.'s FINANCIAL LITIGATION UNIT

UNITED STATES PROBATION

UNITED STATES PRETRIAL

UNITED STATES SENTENCING COMMISSION
(IF A TERM OF IMPRISONMENT, THEN ALSO THE

FEDERAL BUREAU OF PRISONS)

 

THE PUBLIC CASE FILE
